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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                               re INOV I 8 20J5
                                                                               w
                                RICHMOND DIVISION
                                                                                 CLERK, U.S. DIS"{ RICT COURT
                                                                                        RICHMOND, VA
 RONALD W. WALDEN JR.,                           )
                                                 )
                Plaintiff,                       )    Case No:    >.!> : 1'.::SC...~ Ci2. qq
                                                 )
v.                                               )
                                                 )
 BODDIE-NOELL ENTERPRISES, INC.                  )
 a North Carolina Corporation,                   )
                                                 )
                Defend ant.                      )
 ~~~~~~~~~~.)

                                        COMPLAINT

        Plaintiff, Ronald W. Walden, Jr., by and through his undersigned counsel, hereby files

this Complaint and sues Boddie-Noel Enterprises, Inc., a North Carolina Corporation authorized

to conduct and conducting business in Virginia, for injunctive relief, attorneys' fees and costs

 pursuant to 42 U.S.C. §§ 12181 et seq., ("Americans with Disabilities Act" or "ADA") and

 damages pursuant to the laws of the Commonwealth of Virginia and states as follows:

                                JURISDICTION AND PARTIES

        1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §§ 12181, et seq., (the "ADA"). The Court is vested

with original jurisdiction pursuant to 28 U.S.C. § 1331 and § 1343. Further, the Court has

supplemental jurisdiction over the subject matter of all other claims pursuant to 28 U.S.C. §1367(a).

        2.      Venue is proper in this Court pursuant to 28 U.S.C. § 139l(b) because the

Defendant's property, which is the subject of this action, is located in the· Eastern District of

Virginia.
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          3.    Plaintiff, Ronald W. Walden, Jr., ("Mr. Walden" or ''Plaintiff') is a resident of the

Commonwealth of Virginia. Mr. Walden lives in Suffolk, Virginia.

          4.    Mr. Walden is a qualified individual with a disability under the ADA. Mr. Walden

is diagnosed with osteogenesis imperfecta and uses a wheelchair for his primary means of mobility.

          5.    Due to his disability, Plaintiff substantially is impaired in several major life

activities, such as walking and standing, and requires a wheelchair for mobility.

          6.    Upon information and belief, Boddie-Noell Enterprises, Inc. ("Boddie-Noell" or

"Defendant") is a North Carolina Corporation authorized to conduct business in the

Commonwealth of Virginia.

          7.       Defendant is the owner, lessee, and/or operator of the place of public

accommodation, including real property and improvements, which is the subject of this action, to

wit: Hardee's, generally located at 5000 W. Broad Street, Richmond, Virginia 23230 ("the

Property"). Defendant is responsible for complying with all obligations imposed by the ADA.

          8.    All events giving rise to this lawsuit occurred in the Eastern District of Virginia.

                                        COUNT I
                           (VIOLATION OF TITLE III OF THE ADA)

          9.    The allegations set forth in the preceding paragraphs are incorporated by reference

as if fully set forth herein.

          10.   The Property is a place of public accommodation and is therefore subject to Title

 III of the ADA.

          11.   Mr. Walden has visited the Property and plans to return to the Property in the near

future.




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        12.    During his visit, Mr. Walden experienced serious difficulty accessing the goods and

utilizing the services on the Property due to the architectural barriers discussed herein.

        13.     Mr. Walden continues to desire to visit the Property, but continues to experience

serious difficulty due to the barriers discussed herein, which still exist.

        14.     Mr. Walden plans to and will visit the Property once the barriers discussed herein

and any other barriers have been removed.

        15.     Defendant discriminated against and continues to discriminate against Mr. Walden

in violation of 42 U.S.C. §§ 12181 et seq. and 28 C.F.R. §§ 36.302 et seq. by excluding and/or

denying Plaintiff the benefits of the goods and services located on the Property and by failing to

provide and/or correct the following barriers to access, which Plaintiff personally observed and

encountered:

                A.      Plaintiff encountered inaccessible parking due to the improper placement of

                        a ramp in the access aisle of the designated accessible parking space;

                B.      Plaintiff encountered an inaccessible entrance due to a lack of a level

                        landing; and

                C.     Plaintiff encountered an inaccessible restroom due to the narrowness of the

                        stall.

        16.    Upon information and belief, there are other current violations of the ADA and

ADAAG at the Property, and only after a full inspection is performed by the Plaintiff or Plaintiffs

representatives can all violations be identified.

        17.    To date, the barriers and other violations of the ADA still exist and have not been

remedied or altered in such a way as to effectuate compliance with the provisions of the ADA.


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        18.    Independent of his intent to return as a patron of the Property, Plaintiff additionally

intends to return to the Property as an ADA tester to determine whether the barriers to access stated

herein have been remedied.

        19.    Removal of the barriers to access located on the Property is readily achievable,

reasonably feasible and easily accomplishable without placing an undue burden on the Defendant.

        20.    Removal of the barriers to access located on the Property would allow ·Plaintiff to

fully utilize the goods and services located therein.

        21.    The Plaintiff has been obligated to retain the undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorneys' fees, costs, and

expenses paid by Defendant pursuant to 42 U.S.C. § 12205.

                                        COUNT II
                              <VIRGINIA STATE LAW CLAIM )

       22.     Plaintiff realleges and incorporates into this cause of action each and every

allegation contained in the preceding paragraphs of this Complaint.

       23.     Defendant's Property is a place of public accommodation under Section 51.5-44 of

the Code of Virginia.

       24.     The architectural barriers and other accessibility barriers institute an ongoing act of

discrimination against the Plaintiff as a person with a disability in violation of Section 51.5-44 of

the Code of Virginia.

       25.     As a direct and proximate result of Defendant's intentional and negligent failure to

remove its barriers to access, Plaintiff has been denied access and his civil rights have been

violated.




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       26.     Consequently, the Plaintiff seeks monetary damages from the Defendant pursuant

to Section 51.5-46 of Code of Virginia for the discrimination he has experienced and continues to

experience.



                                     PRAYER FOR RELIEF

       WHEREFORE, the Ronald W. Walden, Jr. demands judgment against Defendant and

requests the following injunctive and declaratory relief:

       A.      The Court declare that the Property owned and administered by Defendant is

               in violation of the ADA;

       B.      The Court enter an Order directing Defendant to alter its facilities to make

               them accessible to and useable by individuals with disabilities to the full

               extent required by Title III of the ADA;

       C.      The Court enter an Order directing Defendant to evaluate and neutralize its

               policies and procedures towards persons with disabilities for such reasonable

               time so as to allow Defendant to undertake and complete corrective

               procedures;

       D.      The Court award reasonable attorneys' fees, costs (including expert fees), and

               other expenses of suit, to the Plaintiff;

       E.      The Court award such other and further relief as it deems necessary, just and

               proper;




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     F.    The Court issue a Declaratory Judgment that the Defendant has violated the

           Virginia's Rights of Person with Disabilities Act;

     G.    The Court order the Defendant to alter the aforesaid premises to make such

           facilities accessible to and usable by individuals with disabilities to the extent

           required by the Virginia Statewide Building Code;

     H.    The Court award Plaintiff monetary damages from the Defendant pursuant to

           Section 51.5-46 of the Code of Virginia; and

     I.    That this Court award Plaintiff such other additional and proper relief as may

           be just and equitable.


                                          Ronald W. Walden, Jr.



                                          By:   ~n~ ~ .\,uc;t;(/;
                                                     Deborah C. Waters, Esquire
                                                     Virginia State Bar# 28913
                                                     Waters Law Firm, P.C.
                                                     Town Point Center Building, Suite 600
                                                     150 Boush Street
                                                     Norfolk, VA 23510
                                                     Telephone: (757) 446-1434
                                                     Facsimile: (757) 446-1438
                                                     dwaters@waterslawva.com

                                                     M. Ryan Casey, Esquire
                                                     Virginia State Bar # 72806
                                                     Ku & Mussman, P.A.
                                                     6001 NW 153rd Street, Suite 100
                                                     Miami Lakes, FL 33014
                                                     Telephone: (305) 891-1322
                                                     Facsimile: (305) 891-4512
                                                     rvan@kumussman.com

                                                     Counsel for Plaintiff


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